                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               VICTORIA DIVISION


STATE OF TEXAS,
                                                  Civ. Action No. 6:20-cv-00003
               Plaintiff,

v.

The UNITED STATES OF AMERICA;
DAVID PEKOSKE, Acting Secretary of the
United States Department of Homeland
Security, in his official capacity; UNITED
STATES DEPARTMENT OF HOMELAND
SECURITY; TROY MILLER, Senior Official
Performing the Duties of the Commissioner of
U.S. Customs and Border Protection, in his
official capacity; U.S. CUSTOMS AND
BORDER PROTECTION; TAE JOHNSON,
Acting Director of U.S. Immigration and
Customs Enforcement, in his official capacity;
U.S. IMMIGRATION AND CUSTOMS
ENFORCEMENT;          TRACY        RENAUD,
Senior Official Performing the Duties of the
Director of the U.S. Citizenship and
Immigration Services, in her official capacity;
U.S. CITIZENSHIP AND IMMIGRATION
SERVICES,

               Defendants.



                          APPENDIX IN SUPPORT OF
                TEXAS’S MOTION FOR PRELIMINARY INJUNCTION
                                 TABLE OF CONTENTS



Ex. No.   Document Title

  1       January 20, 2020 Pekoske Memorandum

  2       Memorandum of Understanding Between Texas and DHS

  3       DHS 2019 Yearbook; Table 39

  4       ERO Report FY2019

  5       ERO FY2019 Local Statistics

  6       Decl. of T. Homan

  7       FY2021 ICE Detention Statistics

  8       ICE.gov Homepage

  9       DHS Alien Incarceration Report, Fiscal Year 2017

  10      Decl. of R. Watlz

  11      Decl. of B. Waybourn

  12      Decl. of L. Lopez

  13      Decl. of L. Kalakanis

  14      DPS Texas Criminal Illegal Alien Data

  15      Decl. of R. Vitiello

  16      2.2.2021 DHS letter to Texas

  17      Gone to Texas

  18      Texas Foreign Born Immigration
Date: February 5, 2021   Respectfully submitted.

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                                   CERTIFICATE OF SERVICE

       I certify that on February 5, 2021, a true and accurate copy of the foregoing document was

filed electronically (via CM/ECF) and served on all counsel of record.

                                               /s/ Todd Lawrence Disher
                                               TODD LAWRENCE DISHER
